                  Case 20-10343-LSS         Doc 1498        Filed 10/13/20       Page 1 of 7



                            IN THE UNITED STATES BANKRUPTCY COURT
                               FOR THE DISTRICT OF DELAWARE


    In re:                                                   Chapter 11

    BOY SCOUTS OF AMERICA AND                                Case No. 20-10343 (LSS)
    DELAWARE BSA, LLC,1
                                                             Jointly Administered
                                Debtors.
                                                             Ref. Docket No. 1164 & 1225



       MOTION OF HARTFORD ACCIDENT AND INDEMNITY COMPANY, FIRST
       STATE INSURANCE COMPANY, TWIN CITY FIRE INSURANCE COMPANY
      AND CENTURY INDEMNITY COMPANY FOR LEAVE TO FILE LATE REPLY
        TO RESPONSES REGARDING CENTURY AND HARTFORD’S MOTION TO
      COMPEL THE ATTORNEYS REPRESENTING THE ENTITY CALLING ITSELF
            THE “COALITION” TO SUBMIT THE DISCLOSURES REQUIRED
              BY FEDERAL RULE OF BANKRUPTCY PROCEDURE 2019

             Hartford Accident and Indemnity Company, First State Insurance Company and Twin City

Fire Insurance Company (collectively, “Hartford”) and Century Indemnity Company, as successor

to CCI Insurance Company, as successor to Insurance Company of North America and Indemnity

Insurance Company of North America, Westchester Fire Insurance Company and Westchester

Surplus Lines Insurance Company (“Century”) by and through their undersigned counsel,

respectfully move (the “Motion for Leave”) this Court for entry of an order substantially in the

form attached hereto as Exhibit A, granting Hartford and Century leave to file a reply (the

“Reply”), a copy of which is being filed concurrently with this Motion for Leave, in further support

of Century and Hartford’s Motion to Compel the Attorneys Representing the Entity Calling Itself

the “Coalition” to Submit the Disclosures Required by Federal Rule of Bankruptcy Procedure




1
          The Debtors in these chapter 11 cases, together with the last four digits of each Debtor’s federal tax
identification number, are as follows: Boy Scouts of America (6300) and Delaware BSA, LLC (4311). The Debtors’
mailing address is 1325 West Walnut Law, Irving, Texas 75038.
               Case 20-10343-LSS             Doc 1498       Filed 10/13/20        Page 2 of 7




2019 [D.I. 1164] (the “Motion”)2 and in response to the Objection of the Coalition of Abused

Scouts for Justice to Century and Hartford’s Motion to Compel the Attorneys Representing the

Entity Calling Itself the “Coalition” to Submit the Disclosures Required by Federal Rule of

Bankruptcy Procedure 2019 [D.I. 1225] (the “Objection”) filed by the Coalition of Abused Scouts

for Justice (the “Coalition”).        In support of this Motion for Leave, Hartford and Century

respectfully represents as follows:

                                     JURISDICTION AND VENUE

        1.       This Court has jurisdiction to consider this Motion for Leave pursuant to 28 U.S.C.

§§ 157 and 1334 and the Amended Standing Order of Reference from the United States District

Court for the District of Delaware, dated February 29, 2012. This is a core proceeding under 28

U.S.C. § 157(b). Venue in the District of Delaware is proper under 28 U.S.C. §§ 1408 and 1409.

        2.       Pursuant to Rule 9013-1(f) of the Local Rules of Bankruptcy Practice and

Procedure of the United States Bankruptcy Court for the District of Delaware (the “Local Rules”),

Hartford and Century consent to the entry of a final judgment or order with respect to this Motion

for Leave if it is determined that the Court would lack Article III jurisdiction to enter such final

order or judgment absent consent of the parties.

        3.       The statutory and legal predicates for the relief requested herein are sections 102

and 105(a) of title 11 of the United States Code, §§ 101–1532 (as amended, the “Bankruptcy

Code”), Rule 9006 of the Federal Rules of Bankruptcy Procedure (the “Bankruptcy Rules”), and

Local Rule 9006-1(d).




2
        Capitalized terms used but not otherwise defined herein shall have the meanings ascribed to such terms in
the Motion.



                                                       2
             Case 20-10343-LSS         Doc 1498      Filed 10/13/20     Page 3 of 7




                                RELEVANT BACKGROUND

        4.     The relevant factual and procedural background is set forth in the Motion and the

Reply, which are fully incorporated by reference as if set forth herein. In summary, the Motion

seeks entry of an order requiring counsel for the Coalition to comply in full with Bankruptcy Rule

2019.

        5.     Objections to the Motion were to be filed and served on or before September 2,

2020 at 4:00 p.m. (the “Objection Deadline”). The Coalition timely filed the Objection on the

Objection Deadline.

        6.     On September 9, 2020, the Court held a hearing on the Coalition’s request to file

under seal some of the documents that it provided on August 26 as a supplement to its disclosures.

In particular, the Coalition sought to seal the spreadsheet containing personal identifying

information, as well as portions of the engagement agreements.         During the course of the

September 9th hearing, the Court directed the Coalition to provide Hartford, Century and other

parties in interest with unredacted copies of the engagement agreements (except for fee

information) so that the parties could ascertain whether their production comports with the

requirements of Rule 2019.      At that hearing, Hartford, Century, and others (including the

Committee) asked the Court to continue the hearing on the motions pertaining to the merits of the

Rule 2019 disclosures to provide the parties the opportunity to review the unredacted documents,

including to consider the ethical issues raised by the engagement agreements. The Court agreed

and continued the hearing on the Motion, the Coalition’s motion seeking a ruling that its

disclosures are adequate, and the Coalition’s motion to participate in the mediation [D.I. 1114].

        7.     On October 7, 2020—just seven days ago—the Coalition filed the Second Amended

Verified Statement of Coalition of Abused Scouts for Justice Pursuant to Bankruptcy Rule 2019.




                                                 3
             Case 20-10343-LSS          Doc 1498      Filed 10/13/20     Page 4 of 7




Second Amended Verified Statement of Coalition of Abused Scouts for Justice Pursuant to

Bankruptcy Rule 2019 [D.I. 1429] (the “Second Amended Rule 2019 Disclosures”).

       8.      Hartford and Century hoped that the Second Amended Rule 2019 Disclosures

would resolve their concerns with respect to the Coalition’s Rule 2019 disclosures, however, the

Second Amended Rule 2019 Disclosures increase concerns about the likelihood that the Coalition

is seeking to manufacture vast numbers of claims as part of an effort to take over control of these

cases and the Debtors’ efforts to formulate a confirmable plan of reorganization. As a result of the

infirmities that still exist with respect to the Coalition’s Rule 2019 disclosures, a hearing on the

Motion, among other things, is scheduled for October 14, 2020 at 10:00 a.m. (ET). Accordingly,

Hartford and Century file this Motion for Leave and the Reply.

                                     RELIEF REQUESTED

       9.      By this Motion for Leave, Hartford and Century seek leave to file the Reply, in

further support of the Motion and in reply to the Objection, beyond the deadline provided in the

Local Rules for the submission of reply papers.

                             BASIS FOR RELIEF REQUESTED

       10.     Local Rule 9006-1(d) provides that reply papers “may be filed by 4:00 p.m.

prevailing Eastern Time the day prior to the deadline for filing the agenda.” Del. Bankr. L.R.

9006-1(d).

       11.     The hearing regarding, among other things, the Motion is scheduled to begin on

Wednesday, October 14, 2020 at 10:00 a.m. (ET) (the “Hearing”). Pursuant to Local Rule 9029-

3(a)(i), the agenda regarding the Hearing was due on Friday, October 9, 2020 at 12:00 p.m. (ET).

Del. Bankr. L.R. 9029-3(a)(i). Accordingly, under Local Rule 9006-1(d), the Reply was to be filed




                                                  4
                Case 20-10343-LSS             Doc 1498       Filed 10/13/20        Page 5 of 7




and served on or before October 8, 2020 at 4:00 p.m. (ET)—just one day after the Second Amended

Rule 2019 Disclosures were filed.3

        12.      By this Motion for Leave, Hartford and Century seek authority to file the Reply

beyond the deadline provided in Local Rule 9006-1(d). Hartford and Century submit that the

requested relief is warranted because Hartford and Century required additional time to fully digest

the Second Amended Rule 2019 Disclosures to assess their sufficiency and to prepare the Reply

in a timely manner following the filing of the Second Amended Rule 2019 Disclosures. Further,

Hartford and Century submit that the Reply will assist the Court in properly evaluating the issues

raised in the Motion, the Objection, and the Coalition’s disclosures.

        13.      Moreover, Hartford and Century submit that good cause and compelling

circumstances exist to support leave to file the Reply because the delay in filing was due in large

part to the timing of the filing of the Second Amended Rule 2019 Disclosures. Hartford and

Century believe the filing of the Reply would have been premature had it been filed before the

deadline provided in Local Rule 9006-1(d) because the Reply would have lacked the level of detail

necessary to assist the Court and the parties in defining, and the Court in deciding, the issues

presented by the Motion and the bases for the relief requested therein. Hartford and Century will

serve the Reply on the Coalition immediately upon this filing, which will further minimize any

impact from the delayed filing.

        14.      For all of these reasons, Hartford and Century request that the Court grant this

Motion for Leave and consider the Reply.




3
        If not for the federal holiday on October 12, 2020, the agenda regarding the hearing would have been due on
Monday, October 12, 2020 at 12:00 p.m. (ET) and Hartford and Century’s reply deadline would have been October
11, 2020 at 4:00 p.m. (ET).


                                                        5
              Case 20-10343-LSS          Doc 1498        Filed 10/13/20    Page 6 of 7




                                               NOTICE

        15.     Notice of this Motion for Leave has been provided to (a) counsel to the Coalition,

(b) counsel to the Debtors, (c) the Office of the United States Trustee for the District of Delaware,

and (d) parties entitled to receive notice in these chapter 11 cases pursuant to Bankruptcy Rule

2002. In light of the nature of the relief requested herein, Hartford and Century respectfully submit

that no other or further notice is required.

                                           CONCLUSION

        WHEREFORE, Hartford and Century respectfully request that the Court enter an order,

substantially in the form annexed hereto as Exhibit A, granting: (i) Hartford and Century leave to

file the Reply and (ii) such other and further relief as is just and proper.


Date: October 13, 2020                         BAYARD, P.A.
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                                                   6
Case 20-10343-LSS   Doc 1498   Filed 10/13/20    Page 7 of 7




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